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            Exhibit A-10
2/11/25, 9:34 PM                              Children's Hospital L.A. stops initiating hormone therapy for trans youth - Los Angeles Times
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      CALIFORNIA




     Children’s Hospital L.A. stops initiating hormonal therapy for
     transgender patients under 19




     Children’s Hospital Los Angeles in 2020. (Dania Maxwell / Los Angeles Times)


     By Emily Alpert Reyes
     Staff Writer

     Feb. 4, 2025 Updated 2:08 PM PT



            Children’s Hospital Los Angeles, a major provider of care for
            transgender youth, says it is pausing the initiation of hormonal
            therapy for “gender affirming care patients” under the age of 19.

https://www.latimes.com/california/story/2025-02-04/childrens-hospital-to-stop-initiating-hormonal-therapy-for-trans-patients-under-19        1/5
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            The move comes one week after President Trump issued an
            executive order seeking to stop the use of puberty blockers,
            hormones and other medical procedures for transgender youth.

     Children’s Hospital Los Angeles said Tuesday that it is pausing the initiation of
     hormonal therapy for “gender affirming care patients” under the age of 19 as hospital
     officials assess last week’s executive order from President Trump targeting gender-
     affirming care for young people.


     The L.A. hospital, a major provider of care for transgender youth, also said it was
     maintaining an “existing pause” on gender-affirming surgeries for minors.


     In a statement Tuesday, the hospital said it was continuing to carefully evaluate Trump’s
     order last week “to fully understand its implications.” Existing patients at CHLA already
     receiving hormonal treatment may continue with their course of care, a hospital official
     said.


     Trump‘s executive order sought to stop the use of puberty blockers, hormones and other
     medical procedures for transgender youth under 19, declaring the U.S. will not fund or
     support “the so-called ‘transition’ of a child from one sex to another.” Trump has called
     such medical care a form of “chemical and surgical mutilation.”


     Many of the most sweeping changes sought by Trump, such as rewriting the rules for
     the Medicare and Medicaid programs that provide essential funding for hospitals, must
     go through the rulemaking process, healthcare experts have said. LGBTQ+ advocacy
     groups have stressed that the executive order will take time to implement.


     Yet some U.S. hospitals and clinics have suspended care for transgender youth. The
     Trump administration touted that health systems in Colorado, Virginia and other states
     had paused such services or canceled appointments. In New York, the state attorney
     general recently warned hospitals that stopping such care would violate state law.

https://www.latimes.com/california/story/2025-02-04/childrens-hospital-to-stop-initiating-hormonal-therapy-for-trans-patients-under-19        2/5
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     LGBTQ+ advocacy groups have vowed to fight the clampdown on gender-affirming care.
     Families of transgender youth sued Tuesday to try to stop the executive order,
     represented by the ACLU, Lambda Legal and other firms. Trump’s executive orders
     violate the rights of transgender youth, the groups argued in a legal filing, “by depriving
     them of necessary medical care solely on the basis of their sex and transgender status.”


     CHLA said its pause on initiating hormonal therapy for youth began Feb. 1.


     In Los Angeles, two parents who spoke anonymously with The Times to protect the
     privacy of their children said that Children’s Hospital Los Angeles had canceled
     appointments they had for gender-affirming care this week. One said their appointment,
     to replace a puberty blocker for a child that already had one, had been reinstated after
     they reached out to physicians.


     The CHLA decision was cheered by the California Family Council, whose vice president
     Greg Burt credited the Trump administration for pressuring hospitals to halt procedures
     he called dangerous.

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     “The long nightmare of medical institutions prioritizing radical gender ideology over
     science and ethics is beginning to end,” Burt said in a statement. “We urge other
     hospitals across the nation to follow suit and end these harmful, unproven procedures
     on children once and for all.”
https://www.latimes.com/california/story/2025-02-04/childrens-hospital-to-stop-initiating-hormonal-therapy-for-trans-patients-under-19        3/5
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     Tony Hoang, executive director of Equality California, an LGBTQ+ civil rights group,
     called the move by the L.A. hospital alarming.


     “Denying or delaying care has dangerous consequences for transgender young people
     and their families — and we strongly believe hospitals and providers in California must
     continue to fulfill their ethical and legal duty to care for their patients,” Hoang said in a
     statement.


     The American Academy of Pediatrics has stated that it opposes any laws or regulations
     that discriminate against transgender people “or that interfere in the doctor-patient
     relationship.”


     In a statement responding to questions about canceled appointments, CHLA said it “will
     continue to support our patients and their families with access to robust mental health
     and social support services, ensuring our patients continue to have access to high-
     quality care and the best possible health outcomes.”


     Alejandra Caraballo, clinical instructor at the Cyberlaw Clinic at Harvard Law School,
     said that at this point, nothing in the order has compelled hospitals to suspend gender-
     affirming care for youth.


     “There are no proposed rules,” she said. “None of this is actually following an actual law
     or regulation that has been enacted.”


     Caraballo said that halting such care could also amount to unlawful discrimination at
     the state level if the same care is still provided to other young patients. CHLA said it was
     not halting hormonal therapy or puberty blockers for cisgender children who might be
     prescribed them for other medical purposes.


     California Atty. Gen. Rob Bonta has called the executive order from Trump “cruel and
     irresponsible” and said that families seeking gender-affirming care for their children, as

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     well as doctors and other medical staff who provide it, are protected by state laws in
     California.


     A spokesperson for Bonta didn’t immediately comment Tuesday on whether the move
     by CHLA complies with state law, saying that his office could not comment on any
     complaints it had received.



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